           Case 24-01184-CL11                 Filed 07/31/24           Entered 07/31/24 20:43:12            Doc 51       Pg. 1 of 3
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Ahren A. Tiller – SBN 250608, Donald W. Reid – SBN 281743
BANKRUPTCY LAW CENTER, APC
1230 Columbia St., Ste. 1100 San Diego, CA 92101
Telephone: (619) 894-8831, Facsimile: (866) 444-7026
ahren.tiller@blc-sd.com, don@blc-sd.com



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BARRIO RESTAURANT GROUP, LLC
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                                                                     Barrio Restaurant Group, LLC
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    Assumption of non-residential real property lease for 620 S. Presa St., San Antonio, TX 78210




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         Case 24-01184-CL11                Filed 07/31/24   Entered 07/31/24 20:43:12          Doc 51    Pg. 2 of 3
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                        GD\RI July, 2024
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               $WWRUQH\IRU'HEWRU RU'HEWRU LIUHTXLUHG

               David Andrew Wood, Subchapter V Trustee          dwood@marshackhays.com, c206@ecfcbis.com




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     ✔          )RU&KDSWHU FDVHV                      )RU&KDSWHUFDVHV

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         $WWRUQH\IRU'HEWRU RU'HEWRU LIUHTXLUHG


         LANDLORD:
         620 S. PRESA REALTY, LTD.
         5353 W ALABAMA ST STE 200
         HOUSTON, TX 77056-5935
       Case 24-01184-CL11            Filed 07/31/24       Entered 07/31/24 20:43:12            Doc 51      Pg. 3 of 3
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 3.     Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

        Under Fed.R.Civ.P.5 and controlling LBR, on                                  , I served the following person(s)
 and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
 transmission, by overnight delivery and/or electronic mail as follows:

        Attorney for Debtor (or Debtor), if required:




        I declare under penalty of perjury under the laws of the United States of America that the statements made
        in this proof of service are true and correct.



        Executed on 7/31/2024                                       Donald W. Reid /s/Donald W. Reid
                                   (Date)                            (Typed Name and Signature)

                                                                    1230 Columbia St., Ste. 1100
                                                                     (Address)

                                                                    San Diego, CA 92101
                                                                     (City, State, ZIP Code)
